Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 1 of 17




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


CAROLYN BALDWIN,                                              )
                                                              )
                              Plaintiff,                      )
                                                              )     CIVIL ACTION
vs.                                                           )
                                                              )     Case No. 1:24-CV-02533
KWENDA, INC.,                                                 )
                                                              )
                              Defendant.                      )


                                           COMPLAINT

       COMES NOW, CAROLYN BALDWIN, by and through the undersigned counsel, and

files this, her Complaint against Defendant, KWENDA, INC., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

KWENDA, INC., failure to remove physical barriers to access and violations of Title III of the

ADA.

                                             PARTIES

       2.      Plaintiff CAROLYN BALDWIN (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Littleton, CO (Douglas County).

       3.      Plaintiff is disabled as defined by the ADA.




                                                1
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 2 of 17




       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant, KWENDA, INC., (hereinafter “KWENDA, INC.”) is a foreign

compay that transacts business in the State of Colorado and within this judicial district.

       8.      Defendant, KWENDA, INC., may be properly served with process via its

Registered Agent for service, to wit: c/o Mark Vance Condiotti, Registered Agent, 10 Town

Plaza, #311, Durango, CO 81301.

                                  FACTUAL ALLEGATIONS

       9.      On or about August 30, 2024, Plaintiff was a customer at “Coloradough Pizza,” a

pizza restaurant located at 8170 South University Blvd., Centennial, CO 80122, referenced

herein as “Coloradough Pizza”. See Receipt attached as Exhibit 1. See also photo of Plaintiff



                                                 2
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 3 of 17




attached as Exhibit 2.

       10.     Defendant, KWENDA, INC., is the owner or co-owner of the real property and

improvements that Coloradough Pizza is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.     Defendant, KWENDA, INC., is responsible for complying with the ADA for both

the exterior portions and interior portions of the Property. Even if there is a lease between

Defendant, KWENDA, INC., and a tenant allocating responsibilities for ADA compliance within

the unit the tenant operates, that lease is only between the property owner and the tenant and

does not abrogate the Defendant’s requirement to comply with the ADA for the entire Property it

owns, including the interior portions of the Property which are public accommodations. See 28

CFR § 36.201(b).

       12.     Plaintiff’s access to Coloradough Pizza and the other businesses, located at 8170

South University Blvd., Centennial, CO 80122, Arapahoe County Property Appraiser’s property

identification number: 2077-36-3-27-001 (“the Property”), and/or full and equal enjoyment of

the goods, services, foods, drinks, facilities, privileges, advantages and/or accommodations

offered therein were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Property, including those set

forth in this Complaint.

       13.     Plaintiff lives only 4 miles from the Property.

       14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property.




                                                 3
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 4 of 17




       15.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer to Coloradough Pizza, to be a new customer of Spirit-

Halloween costume store, to determine if and when the Property is made accessible and to

substantiate already existing standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase food and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer once before as a customer,

personally encountered many barriers to access the Property that are detailed in this Complaint,

engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

harm and injury if all the illegal barriers to access present at the Property identified in this

Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and she would need to use an

alternative accessible parking space in the future on her subsequent visit. As such, all barriers to



                                                  4
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 5 of 17




access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is


                                                 5
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 6 of 17




               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



                                                6
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 7 of 17




       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

her capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of her disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit her access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, KWENDA, INC., has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant, KWENDA, INC., will continue to discriminate against Plaintiff and

others with disabilities unless and until Defendant, KWENDA, INC., is compelled to remove all

physical barriers that exist at the Property, including those specifically set forth herein, and make



                                                 7
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 8 of 17




the Property accessible to and usable by Plaintiff and other persons with disabilities.

       33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   In front of Unit 250, the accessible parking space and associated access aisle

                    have a cross slope in excess of 1:48 in violation of Section 502.4 of the 2010

                    ADAAG standards and are not level. This barrier to access would make it

                    dangerous and difficult for Plaintiff to enter and exit the vehicle as a level

                    surface is needed so the wheelchair does not tip over and injure Plaintiff as

                    excessive cross-slopes increases the likelihood of Plaintiff’s wheelchair

                    tipping over on its side and injuring Plaintiff.

             ii.    In front of Unit 250, the accessible parking space is missing an identification

                    sign in violation of Section 502.6 of the 2010 ADAAG standards. This barrier

                    to access would make it difficult for Plaintiff to locate an accessible parking

                    space.

             iii.   In front of Unit 250, the accessible curb ramp lacks a clear and level area at

                    the top of the ramp of at least 36 inches in length past the top of the ramp in

                    violation of Section 406.4 of the 2010 ADAAG Standards. This barrier to

                    access would make it difficult and dangerous for Plaintiff to access the public

                    accommodations offered at the Property because a clear and level landing is

                    necessary for Plaintiff to safely turn from the ramp towards the entrances; by



                                                   8
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 9 of 17




                not having a clear and level landing, Plaintiff is forced to turn on a sloped

                surface which can cause the wheelchair to tip over and cause injury.

          iv.   At the southwest corner of the Property, the bottom edge of the sign

                identifying the accessible parking space is at a height below 60 inches from

                the floor in violation of Section 502.6 of the 2010 ADAAG standards. This

                barrier to access would make it difficult for Plaintiff to locate an accessible

                parking space.

          v.    At the southwest corner of the Property, the accessible curb ramp lacks a clear

                and level area at the top of the ramp of at least 36 inches in length past the top

                of the ramp in violation of Section 406.4 of the 2010 ADAAG Standards.

                This barrier to access would make it difficult and dangerous for Plaintiff to

                access the public accommodations offered at the Property because a clear and

                level landing is necessary for Plaintiff to safely turn from the ramp towards

                the entrances, by not having a clear and level landing, Plaintiff is forced to

                turn on a sloped surface which can cause the wheelchair to tip over and cause

                injury.

          vi.   At the southwest corner of the Property, the walking surfaces of the accessible

                route have a cross slope in excess of 1:48, in violation of Section 403.3 of the

                2010 ADAAG standards. This barrier to access would make it dangerous and

                difficult for Plaintiff to access the units of the Property because excessive

                cross-slope along accessible routes increases the likelihood of Plaintiff’s

                wheelchair tipping over on its side and injuring Plaintiff.




                                              9
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 10 of 17




          vii.   At the southwest corner of the Property, the surfaces of the accessible route

                 lack a level turning space of at least 60 inches in diameter circle or a 60 inch

                 square minimum t-shaped space in violation of Section 304.3 of the 2010

                 ADAAG standards. This barrier to access would make it dangerous and

                 difficult for Plaintiff to access the units of the Property because if Plaintiff is

                 forced to turn on a sloped surface this can cause the wheelchair to tip over and

                 cause injury.

         viii.   In front of Coloradough Pizza, due to a failure to enact a policy of proper

                 parking lot maintenance, the ground surfaces of the accessible space have

                 vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

                 resistant, have broken or unstable surfaces or otherwise fail to comply with

                 Sections 502.4, 302 and 303 of the 2010 ADAAG standards. This barrier to

                 access would make it dangerous and difficult for Plaintiff to access the units

                 of the Property.

          ix.    In front of Coloradough Pizza, the access aisle serving the accessible parking

                 space has a width that decreases below 60 inches and is therefore in violation

                 of Section 502.3.1 of the 2010 ADAAG standards. This barrier to access

                 would make it dangerous and difficult for Plaintiff to exit and enter their

                 vehicle while parked at the Property.

           x.    In front of Coloradough Pizza, the accessible parking space has a cross slope

                 in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards

                 and is not level. This barrier to access would make it dangerous and difficult

                 for Plaintiff to enter and exit the vehicle as a level surface is needed so the



                                               10
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 11 of 17




                 wheelchair does not tip over and injure Plaintiff as excessive cross-slopes

                 increases the likelihood of Plaintiff’s wheelchair tipping over on its side and

                 injuring Plaintiff.

          xi.    Across of vehicular way from Unit 155, as well as across vehicular way from

                 Unit 140, the bottom edge of the signs identifying the accessible parking

                 spaces are at a height below 60 inches from the floor in violation of Section

                 502.6 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for Plaintiff to locate an accessible parking space.

          xii.   Across of vehicular way from Unit 155, as well as across vehicular way from

                 Unit 140, as a result of the lack of a nearby accessible ramp, the Property

                 lacks an accessible route from the four accessible parking spaces to the

                 accessible entrance of the Property in violation of Section 208.3.1 of the 2010

                 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                 to access the units of the Property.

         xiii.   Across of vehicular way from Unit 140, the two accessible parking spaces and

                 associated access aisle have an opening running the length of the entire

                 accessible parking space with a width in excess of ½ inch in violation of

                 Sections 302.3 and 502.4 of the 2010 ADAAG standards. This barrier to

                 access could cause the wheel of Plaintiff’s wheelchair to get lodged in the

                 opening causing difficulty and risk having the wheelchair tip over in a

                 struggle to get removed from the gap.

         xiv.    In front of Unit 120 and leading towards Unit 115, the walking surfaces of the

                 accessible route have a cross slope in excess of 1:48, in violation of Section



                                               11
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 12 of 17




                 403.3 of the 2010 ADAAG standards. This barrier to access would make it

                 dangerous and difficult for Plaintiff to access the units of the Property because

                 excessive cross-slope along accessible routes increases the likelihood of

                 Plaintiff’s wheelchair tipping over on its side and injuring Plaintiff.

          xv.    In front of Unit 135, the accessible parking space has a cross slope in excess

                 of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards and is not

                 level. This barrier to access would make it dangerous and difficult for Plaintiff

                 to enter and exit the vehicle as a level surface is needed so the wheelchair

                 does not tip over and injure Plaintiff as excessive cross-slopes increases the

                 likelihood of Plaintiff’s wheelchair tipping over on its side and injuring

                 Plaintiff.

         xvi.    In front of Unit 135, due to a failure to enact a policy of proper parking lot

                 maintenance, the ground surfaces of the accessible space have vertical rises in

                 excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

                 broken or unstable surfaces or otherwise fail to comply with Sections 502.4,

                 302 and 303 of the 2010 ADAAG standards. This barrier to access would

                 make it dangerous and difficult for Plaintiff to access the units of the Property.

         xvii.   In front of Unit 100, the three accessible parking spaces have a slope in excess

                 of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards and are

                 not level. This barrier to access would make it dangerous and difficult for

                 Plaintiff to exit and enter their vehicle while parked at the Property as

                 Plaintiff’s wheelchair may roll down the slope while entering or exiting the

                 vehicle.



                                               12
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 13 of 17




        xviii.   In front of Unit 100, due to a failure to enact a policy of proper parking lot

                 maintenance, the ground surfaces of the three accessible spaces have vertical

                 rises in excess of ¼ (one quarter) inch in height, are not stable or slip resistant,

                 have broken or unstable surfaces or otherwise fail to comply with Sections

                 502.4, 302 and 303 of the 2010 ADAAG standards. This barrier to access

                 would make it dangerous and difficult for Plaintiff to access the units of the

                 Property.

         xix.    In front of Unit 100, one of the three accessible parking spaces is missing an

                 identification sign in violation of Section 502.6 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to locate

                 an accessible parking space.

          xx.    In front of Unit 100, the bottom edge of the sign identifying two of the three

                 accessible parking spaces are at a height below 60 inches from the floor in

                 violation of Section 502.6 of the 2010 ADAAG standards. This barrier to

                 access would make it difficult for Plaintiff to locate an accessible parking

                 space.

         xxi.    In front of Unit 100, two of the accessible parking spaces are not located on

                 the shortest distance to the accessible route leading to the accessible entrances

                 in violation of Section 208.3.1 of the 2010 ADAAG Standards. This barrier to

                 access would make it difficult and dangerous for Plaintiff to access the units

                 of the Property from these accessible parking spaces as the far location

                 increases the likelihood of traversing into the vehicular way and getting struck




                                                13
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 14 of 17




                 by a vehicle or encountering a barrier to access which stops Plaintiff from

                 accessing the public accommodations offered at the Property.

         xxii.   In front of Unit 100, there is a vertical rise at the base of the accessible ramp

                 that is in excess of a ¼ of an inch, in violation of Sections 303.2 and 405.4 of

                 the 2010 ADAAG standards. This barrier to access would make it dangerous

                 and difficult for Plaintiff to access public features of the Property when using

                 this accessible ramp as vertical rises on ramps are particularly dangerous as

                 the surface of the ramp is already at a significant slope which increases the

                 likelihood of the wheelchair to tip over due to the vertical rise.

        xxiii.   In front of Unit 100, the walking surfaces of the accessible route have an

                 extreme cross slope well in excess of 1:48, in violation of Section 403.3 of the

                 2010 ADAAG standards. This barrier to access would make it dangerous and

                 difficult for Plaintiff to access the units of the Property because excessive

                 cross-slope along accessible routes increases the likelihood of Plaintiff’s

                 wheelchair tipping over on its side and injuring Plaintiff.

        xxiv.    In front of Unit 100, the walking surfaces of the accessible route have an

                 extreme cross slope well in excess of 1:48. As a result, the Property lacks an

                 accessible route from the three accessible parking spaces to the accessible

                 entrance of the Property in violation of Section 208.3.1 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to access

                 the units of the Property.

         xxv.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

                 facilities are readily accessible to and usable by disabled individuals.



                                               14
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 15 of 17




        34.       The violations enumerated above may not be a complete list of the barriers,

 conditions or violations encountered by Plaintiff and/or which exist at the Property.

        35.       Plaintiff requires an inspection of the Property in order to determine all of the

 discriminatory conditions present at the Property in violation of the ADA.

        36.       The removal of the physical barriers, dangerous conditions and ADA violations

 alleged herein is readily achievable and can be accomplished and carried out without significant

 difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

        37.       All of the violations alleged herein are readily achievable to modify to bring the

 Property into compliance with the ADA.

        38.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because the nature and cost of

 the modifications are relatively low.

        39.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because Defendant,

 KWENDA, INC., has the financial resources to make the necessary.

        40.       Upon information and good faith belief, the removal of the physical barriers and

 dangerous conditions present at the Property is readily achievable because Defendant,

 KWENDA, INC., has the financial resources to make the necessary modifications. According to

 the Property Appraiser, the Appraised value of the Property is $6,420,600.00.

        41.       The removal of the physical barriers and dangerous conditions present at the

 Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

 and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

 modifications.



                                                 15
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 16 of 17




        42.     Upon information and good faith belief, the Property has been altered since 2010.

        43.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

 standards apply, and all of the alleged violations set forth herein can be modified to comply with

 the 1991 ADAAG standards.

        44.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

 reasonably anticipates that she will continue to suffer irreparable harm unless and until

 Defendant, KWENDA, INC., is required to remove the physical barriers, dangerous conditions

 and ADA violations that exist at the Property, including those alleged herein.

        45.     Plaintiff’s requested relief serves the public interest.

        46.     The benefit to Plaintiff and the public of the relief outweighs any resulting

 detriment to Defendant, KWENDA, INC.

        47.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

 litigation from Defendant, KWENDA, INC., pursuant to 42 U.S.C. §§ 12188 and 12205.

        48.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

 injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, KWENDA,

 INC., to modify the Property to the extent required by the ADA.

        WHEREFORE, Plaintiff prays as follows:

        (a)     That the Court find Defendant KWENDA, INC., in violation of the ADA and

                ADAAG;

        (b)     That the Court issue a permanent injunction enjoining Defendant, KWENDA,

                INC., from continuing their discriminatory practices;

        (c)     That the Court issue an Order requiring Defendant, KWENDA, INC., to (i)

                remove the physical barriers to access and (ii) alter the subject Property to make it



                                                  16
Case No. 1:24-cv-02533-MEH Document 1 filed 09/16/24 USDC Colorado pg 17 of 17




             readily accessible to and useable by individuals with disabilities to the extent

             required by the ADA;

       (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

             and costs; and

       (e)   That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

       Dated: September 16, 2024.

                                           Respectfully submitted,

                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

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                                              17
